
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-2289

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                BRADLEY OLIVER BOWEN,

                                Defendant - Appellant.

                                 ____________________

          No. 96-2290

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                RINALDO TICCHIARELLI,
                         a/k/a RONALDO, a/k/a WHITNEY DOREY,

                                Defendant - Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                        Bownes and Cyr, Senior Circuit Judges.
                                        _____________________

                                _____________________


















               J. Bradford Coffey,  by appointment of the  Court, with whom
               __________________
          Farrell, Rosenblatt &amp; Russell was on  brief for appellant Bradley
          _____________________________
          Oliver Bowen.
               G. Richard Strafer, with whom  Qui on &amp; Strafer, P.A. was on
               __________________             ______________________
          brief for appellant Rinaldo Ticchiarelli.
               Margaret  D. McGaughey,  Assistant  United States  Attorney,
               ______________________
          with whom  Jay  P. McCloskey,  United States  Attorney, James  L.
                     _________________                            _________
          Moore, Assistant  United States  Attorney, and  Timothy D.  Wing,
          _____                                           ________________
          Assistant United States Attorney, were on brief for appellee.



                                 ____________________

                                  September 24, 1997
                                 ____________________





































                                         -2-














                    TORRUELLA,  Chief Judge.  This appeal presents an issue
                    TORRUELLA,  Chief Judge.
                                ___________

          of first impression, namely, whether the term "hashish oil" under

          18   U.S.C.        841(b)(1)(D)    and   U.S.S.G.      2D1.1   is

          unconstitutionally  vague,  or  so ambiguous  as  to  require the

          application  of  the  rule  of  lenity,  as  applied  to  conduct

          occurring prior to  a November 1995  amendment to the  Sentencing

          Guidelines  that provided, for  the first time,  a definition for

          the term.

                    Appellants   were    convicted   for    importing   and

          trafficking,  prior to the  Guideline amendment, in  a controlled

          cannabis-derived substance  the precise  classification of  which

          was  left to  be determined  during sentencing.    The sentencing

          court determined the substance to be "hashish oil," as opposed to

          "marihuana,"  and concluded  that it  was appropriate to  apply a

          fifty to one  quantity conversion ratio  under the Drug  Quantity

          Table of  the Sentencing  Guidelines.   See U.S.S.G.    2D1.1(c).
                                                  ___

          Finding  that  genuine  ambiguity  regarding  the  definition  of

          "hashish oil" prior to 1995  mandates the application of the rule

          of lenity in this case, we reverse and remand for re-sentencing.

                                      BACKGROUND
                                      BACKGROUND

                    Defendants-Appellants Bradley Oliver  Bowen and Rinaldo

          Ticchiarelli participated in a scheme, along with three other co-

          conspirators, to smuggle controlled  substances from Jamaica into

          the United  States, to  store the substances  in Maine,  and from

          there to eventually  smuggle contraband drugs into Canada.   With

          Bowen's assistance,  Ticchiarelli  organized two  boat  trips  to


                                         -3-














          Jamaica to pick up marihuana  and a marihuana-based substance and

          stored  large quantities of these controlled substances in Maine,

          for later export into Canada.

                    The illicit substances involved were marihuana and much

          greater   quantities  of   a   black,  tar-like   marihuana-based

          substance.   In  a consolidated  appeal,  Brown and  Ticchiarelli

          challenge  the district  court's determination  during sentencing

          that the  tar-like substance in  which they were  trafficking was

          "hashish  oil."1    Both  seek  to be  sentenced  as  though  the

          controlled substance were  "marihuana."  Prior to  the sentencing

          stage, their cases travelled different procedural routes.

                    Pursuant to a plea agreement, Ticchiarelli  pled guilty

          on September 14, 1995 to Counts One, Eight and Ten of a ten-count

          indictment.   Although these  counts made  specific reference  to

          "hashish oil," as part of his plea agreement Ticchiarelli did not

          concede that  the Schedule  I controlled  substance was  "hashish

          oil."    Count  One  alleged  a  conspiracy  to  commit  and  the

          commission of, with Bowen and three others, the following  crimes

          occurring  between  August  1994  and  March  1995:  importing  a

          Schedule  I controlled  substance  ("hashish oil")  derived  from

          marihuana into the United States in violation of 21 U.S.C.   952;

          importing  marihuana into the  United States  in violation  of 21

          U.S.C.    952; distributing the  "hashish oil" intending  that it

          would be unlawfully imported, in violation  of 21 U.S.C.   959(a)

                              
          ____________________

          1   As discussed infra,  Bowen asserts additional claims  not put
                           _____
          forward by Ticchiarelli.

                                         -4-














          (1); possessing with intent to distribute a Schedule I controlled

          substance  ("hashish oil")  derived from  marihuana,  as well  as

          possessing with intent  to distribute marihuana, in  violation of

          21   U.S.C.     841(a)(1);  exporting  a  Schedule  I  controlled

          substance ("hashish  oil") as well  as marihuana from  the United

          States, in  violation of  21 U.S.C.   953.   Count  Eight charged

          Ticchiarelli with  making false  representations  to the  Customs

          Service  by presenting false  identification, in violation  of 18

          U.S.C.   1001, and Count Ten recited the other counts in invoking

          the criminal forfeiture provision of 21 U.S.C.   853.

                    The plea agreement  signed by Ticchiarelli stated  that

          the Schedule I  controlled substance of  Count One was  "hashish"

          when  processed  into  liquid  form,  but  Ticchiarelli   nowhere

          conceded that the substance  was "hashish oil," and the  district

          court reserved the issue of the precise identity of the substance

          for determination at sentencing when it accepted the guilty plea.

                    Bowen, unlike  Ticchiarelli and the  other conspirators

          named in Count One  of the indictment, did not enter  into a plea

          bargain.  On February 6,  1996, Bowen was convicted after a  jury

          trial on Counts One, Six and Seven.  Counts Six and Seven charged

          a second  instance, in March  1995, of possession with  intent to

          distribute  a Schedule I controlled substance ("hashish oil"), in

          violation  of  21  U.S.C.     841(a)  and  841(b)(1)(B)(vii), and

          possession with intent  to distribute marihuana, in  violation of

          21  U.S.C.    841(b)(1)(D).  The Presentence Investigation Report

          (PSR)  in  Bowen's case  states  that  the contested  Schedule  I


                                         -5-














          controlled substance  was hashish oil.   Bowen disputed  that PSR

          determination and contended that the Guideline's use of  the term

          "hashish  oil" was  unconstitutionally vague.    Bowen sought  to

          consolidate  his  case  with those  of  his  co-conspirators with

          respect to  the issue of  the nature of the  controlled substance

          referred  to as "hashish  oil" in the  indictment, and as  to the

          legal validity of this allegedly ambiguous provision.

                    The cases were consolidated and  on August 9, 1996, the

          district court convened  an evidentiary hearing to  determine the

          proper characterization  of the  controlled Schedule  I substance

          for the purposes  of sentencing Bowen, Ticchiarelli,  and another

          co-conspirator.   At the  hearing, experts  on each side  offered

          differing definitions  of the  term hashish oil.   On  October 2,

          1996,  the district  court ruled  that based on  undisputed facts

          regarding the physical appearance and chemical composition of the

          substance,  the substance fit  within the ambit  of the "ordinary

          meaning" of hashish oil.   See United States v. Ticchiarelli, 943
                                     ___ _____________    ____________

          F. Supp. 77, 83  (D. Me. 1996) (Order  Determining the Nature  of

          the  Controlled Substance  for  Purposes  of  Sentencing).    The

          district  court  also  stated,  however,  that  after considering

          expert  testimony proffered by the government and the defendants,

          and after consulting further materials in order  to ascertain the

          meaning of the term "hashish  oil," it had discovered that "there

          is  no scientific nor any universally accepted precise definition

          of the term hashish oil."  Id. at 82.
                                     ___

                    Having found  the  controlled substance  to be  hashish


                                         -6-














          oil, the court  established the base offense level  for Bowen and

          Ticchiarelli  by following  section 2D1.1(c):  it multiplied  the

          quantity (measured by  weight) of the "hashish  oil" attributable

          to the defendants by a factor of fifty, added that figure  to the

          amount  of other marihuana  attributable to them,  and determined

          the base offense level corresponding to the resulting, marihuana-

          equivalent  drug quantity figure.2   The base  offense levels for

          Bowen and Ticchiarelli were 36 each, and, ultimately, their total

          offense levels were determined to be 38.

                    On  appeal, both  Ticchiarelli  and  Bowen assert  that

          Sentencing Guideline section 2D1.1's use of "hashish oil" without

          a  definition (prior to November 1995) was unconstitutional, and,

          in the  alternative, that  the rule of  lenity required  that any

          ambiguity as  to the definition  of "hashish oil" be  resolved in

          their favor  -- that  is, through a  finding that  the marihuana-

          based  substance was  not hashish  oil  for sentencing  purposes.

          Bowen  additionally  claims  error in  the  admission  of certain

          evidence in his criminal  trial and asserts that the fifty to one

          ratio   between  marihuana  and  hashish  oil  is  arbitrary  and

          irrational, thereby violating the Due Process clause of the Fifth

                              
          ____________________

          2  The court determined that 393 kilograms of hashish oil  and 48
          kilograms of marihuana were attributable to the defendants.  This
          amounts, after the one  to fifty conversion, to 19,698  kilograms
          of marihuana equivalent, corresponding to a base offense level of
          36.   See U.S.S.G.    2D1.1(c).   Had  the substance  been deemed
                ___
          marihuana instead, the corresponding base offense level for Bowen
          and Ticchiarelli  would have  been 28.   Given the  total offense
          levels of 38, this eight point increase translates into a minimum
          difference in incarceration  periods of 114 months  for Bowen and
          141 months for Ticchiarelli.

                                         -7-














          Amendment.




















































                                         -8-














                                      DISCUSSION
                                      DISCUSSION

                    I.  The Meaning of "Hashish Oil"
                    I.  The Meaning of "Hashish Oil"

                    The district  court's interpretation of the  meaning of

          "hashish  oil" under the  Sentencing Guidelines presents  a legal

          question over which we  assume de novo review, as does  the legal
                                         __ ____

          issue  of whether the  term was vague  or ambiguous prior  to the

          1995  amendment.  United States v. Camilo,  71 F.3d 984, 986 (1st
                            _____________    ______

          Cir. 1996);  United States  v. Bohai Trading  Co., Inc.,  45 F.3d
                       _____________     ________________________

          577, 580  (1st Cir.  1995).  The  sentencing court's  findings of

          fact  regarding the properties of the controlled substance itself

          are subject to review for clear error.  Camilo, 71 F.3d at 986.
                                                  ______

                    The following factual findings regarding the controlled

          substance are undisputed:  (1) it is derived from marihuana plant

          matter  (cannabis  sativa),  and  not  from  marihuana  resin  or

          hashish; (2) it  is a  black or  near-black substance  resembling

          road tar; (3)  it is  not pourable  at room  temperature; (4)  it

          contains  tetrahydrocannabinol  (THC)  in the  13  to  16 percent

          range;   (5)  it  contains  cannabinol  and cannabidiol;  (6)  it

          contains no fragments of vegetation perceptible to the naked eye;

          (7)  it contains chlorophyll and magnesium;  (8) it originates in

          Jamaica.  See 943 F.  Supp. at 78.   The appeal turns on  whether
                    ___

          this substance can be said to be "hashish oil."

                    Under  the  amendments  to  the  Sentencing  Guidelines

          effective November 1,  1995, the following definition  of hashish

          oil was provided:

                      Hashish  oil, for  the  purposes of  this
                      guideline,  means  a preparation  of  the

                                         -9-














                      soluble    cannabinoids   derived    from
                      cannabis that includes:  (i) one or  more
                      of the  tetrahydrocannabinols (as  listed
                      in 21  C.F.R.   1308.11(d)(25)),  (ii) at
                      least two  of the  following: cannabinol,
                      cannabidiol,   or  cannabichromene,   and
                      (iii)  is   essentially  free   of  plant
                      material    (e.g.    plant    fragments).
                                   ____
                      Typically, hashish oil is a viscous, dark
                      colored oil, but  it can vary from  a dry
                      resin to a colorless liquid.

          U.S.S.G.   2D1.1(c), Drug Quantity Table, Note (J) (Nov. 1995).

                    Prior  to November  1995, the  term  "hashish oil"  was

          undefined  in both the Code, see 21 U.S.C.   841(b)(1)(D), and in
                                       ___

          the  Guidelines.    Moreover,  the  legislative  history  of  the

          Comprehensive Crime Control Act of 1984, which first  enacted the

          fifty to one ratio and  introduced the term "hashish oil"  to the

          Code, is silent as to the meaning  of the term.  See Pub. L.  No.
                                                           ___

          98-473, 98  Stat. 2030,  2070, 2086; S.  Rep. No.  98-634 (1984);

          H.R.  Rep.  No. 98-1030  (1984).   Although the  undisputed facts

          regarding the substance at issue  would appear to place it within

          the   current  definition,   this   definition,  constituting   a

          significant and substantive addition to the guidelines, cannot be

          retroactively applied to these defendants.   See United States v.
                                                       ___ _____________

          S nchez, 81 F.3d 9, 12  (1st Cir. 1996) (Guideline amendment that
          _______

          is  not a  mere clarification,  and that  is not  covered by  the

          policy  statement  of  section  1B1.10,  is  not  to  be  applied

          retroactively).   For example,  this definition  includes a  "dry

          resin"  within the  scope of  the  term "hashish  oil," a  matter






                                         -10-














          which, as discussed  below,3 could not be considered  part of the

          core meaning of "hashish oil" prior to the amendment.

                    It is clear, however, that whether or not the substance

          at issue is "hashish oil," it certainly  qualifies as "marihuana"

          under the Code:

                      The term "marihuana"  means all parts  of
                      the  plant  Cannabis sativa  L.,  whether
                      growing  or not;  the seeds  thereof; the
                      resin  extracted  from any  part  of such
                      plant; and  every compound,  manufacture,
                      salt, derivative, mixture  or preparation
                      of  such plant, its seeds or resin.  Such
                      term does  not include the  mature stalks
                      of such  plant, fiber produced  from such
                      stalks, oil or  cake made from  the seeds
                      of such plant, or . . . [any preparations
                      thereof].

          21 U.S.C.    802(16) (Supp. 1997).   It is not disputed  that the

          substance at issue in this appeal falls within this broad, catch-

          all definition  of "marihuana."   The question is whether  it can

          also  be  found  to  be  "hashish  oil"  under the  pre-amendment

          Guidelines.  Appellants raise several grounds for concluding that

          it cannot.   We need not  address their contention  that the term

          "hashish  oil"  is  void  for  vagueness,  however,  because  our

          conclusion  that  the  application  of  the  rule  of  lenity  is

          appropriate  in this case provides the appellants the relief they

          seek.

                    II.  The Rule of Lenity
                    II.  The Rule of Lenity

                    Appellants  contend  that  in  the  face  of  ambiguity

          regarding the scope of the term "hashish oil," the district court
                              
          ____________________

          3  See  infra discussion of applicability  of rule of  lenity for
             ___  _____
          core meaning of hashish oil.

                                         -11-














          should have  followed the  rule of lenity  by accepting  the more

          restricted  definition of hashish  oil offered by  the defendants

          and by  sentencing the  defendants as  though the substance  were

          "marihuana" under the Guidelines.

                    As the Supreme Court has consistently held, the rule of

          lenity  commands that  genuine  ambiguities affecting  a criminal

          statute's scope be resolved in the defendant's favor.  See, e.g.,
                                                                 ___  ____

          United States  v. Lanier,  117 S. Ct.  1219, 1225  (1997); United
          _____________     ______                                   ______

          States  v. Nippon  Paper Indus.  Co., 109 F.3d  1, 7-8  (1st Cir.
          ______     _________________________

          1997)(collecting  cases).  The  important purposes served  by the

          rule of lenity include the  following: "to promote fair notice to

          those  subject to  the criminal  laws,  to minimize  the risk  of

          selective  or arbitrary enforcement,  and to maintain  the proper

          balance between  Congress,  prosecutors,  and  courts."    United
                                                                     ______

          States v. Kozminski, 487 U.S. 931, 952 (1988).  However, the rule
          ______    _________

          only "properly comes  into play when,  at the  end of a  thorough

          inquiry,  the meaning  of a  criminal  statute remains  obscure."

          United  States v. O'Neil, 11 F.3d 292,  301 n.10 (1st Cir. 1993).
          ______________    ______

          Put  another way, the  rule of lenity means  that "the Court will

          not interpret  a federal criminal  statute so as to  increase the

          penalty  that   it  places   on  an   individual  when  such   an

          interpretation can be  based on no more  than a guess as  to what

          Congress intended."   Ladner v. United States, 359  U.S. 169, 178
                                ______    _____________

          (1958).

                    We  find that experts  for both the  government and the

          defendants offered reasonable constructions of the  term "hashish


                                         -12-














          oil" at the August 9,  1996 evidentiary hearing, and further find

          that  the legislative  history  provides no  guidance  as to  the

          term's meaning.  Presented with  a variety of educated guesses as

          to  the meaning  of "hashish  oil" --  that is, presented  with a

          genuine ambiguity  -- we  hold that the  rule of  lenity applies.

          The defense expert, James Woodford, testified on the basis of his

          experience as a chemist and as a drug testing expert that hashish

          oil is a  transparent, honey-colored oil produced  in the process

          of  compressing hashish into bricks.  Part. Tr. of August 9, 1996

          Hearing,  at 38-40.   Woodford  testified that  hashish oil  is a

          liquid with  high THC levels  (around 40%) and  that it is  not a

          tarry,  thick substance.   Id.   On the other  hand, a government
                                     ___

          expert,  a forensic  chemist with  the  Drug Enforcement  Agency,

          testified that  the substance  appeared to  be  hashish oil,  for

          hashish  oil is  a marihuana-derived  substance  that is  chiefly

          distinguished  from marihuana by  its lack of  plant material and

          cystolithic  hairs,  and  that the  controlled  substance  lacked

          cystolithic  hairs.   Id. at  6-7.   According to  the government
                                ___

          experts, "hashish oil" need not resemble other familiar oils that

          are liquid  at room temperature.   The record indicates  that the

          substance, although undoubtedly  a controlled substance,  did not

          have the slippery, viscous, or  liquid properties of an "oil," at

          least as  that  term is  commonly used.   This  fact  is, in  our

          opinion,  critical  to our  conclusion  that the  rule  of lenity

          applies in this case.

                    Although no  other  circuit court  has  addressed  this


                                         -13-














          issue,  appellants draw  our  attention  to  two  district  court

          decisions involving a similar tar-like marihuana-based  substance

          in which  the courts, in  the face of conflicting  definitions of

          hashish oil from experts, applied the rule of lenity.  See United
                                                                 ___ ______

          States v. Gravelle,  819 F. Supp. 1076, 1078-79  (S.D. Fla. 1993)
          ______    ________

          (pursuant to rule  of lenity, finding  substance to be  marihuana

          rather than hashish oil); United  States v. Schultz, 810 F. Supp.
                                    ______________    _______

          230, 234  (S.D. Ohio  1992) (pursuant to  rule of  lenity finding

          substance to  be hashish  rather than hashish  oil).   Both cases

          dealt with a  thick, tarry, black substance that did  not pour at

          room temperature.

                    In United  States v. Camilo,  we held that the  rule of
                       ______________    ______

          lenity  was  not  applicable  where  a  defendant  challenged  an

          enhanced sentence  for trafficking  in   "crack"  (as opposed  to

          "powder")  cocaine.   See 71  F.3d  at 990  (rule  of lenity  not
                                ___

          applicable because  "crack in  reality does  differ from  cocaine

          powder," notwithstanding  similar medical  effects and  identical

          scientific composition).   That case is distinguishable  from the

          instant  appeal, because  in Camilo  we emphasized  that one  can
                                       ______

          clearly distinguish,  as a  practical matter,  between crack  and

          powder cocaine.   The meaning  of the  term "crack" was  thus not

          ambiguous.   Here, "hashish  oil," prior  to the  1995 amendment,

          presents a  problem of definitional ambiguity, a problem to which

          the rule of lenity clearly is addressed.

                    For   lenity    to   be   appropriate,    genuine   and

          insurmountable  doubt must  exist  as  to  whether  Congress,  in


                                         -14-














          enacting a higher penalty for  "hashish oil," intended to include

          this particular, tarry substance within its scope.   The district

          court, finding that "[t]he three experts presented by the parties

          were as  deficient on the  subject of definition as  Congress and

          the  Sentencing  Commission,"  943 F.  Supp.  at  79,  surveyed a

          variety of publications for assistance.  See 943 F. Supp. at  80-
                                                   ___

          82.   The  "ordinary meaning"  of hashish  oil that  the district

          court ultimately  applied, however, did  not represent a  kind of

          least common  denominator among  the various  definitions it  had

          culled.   Indeed, the publications  the court cited  include both

          narrow and broad definitions of  hashish oil, and the court opted

          for a broader definition  rather than a narrower one.   Id.  Even
                                                                  ___

          on the basis of the publications cited and quoted by the district

          court in its order, we find that, at the very least, there exists

          ambiguity as to whether "hashish oil":  (a) must be a liquid  (or

          readily pourable, or  capable of being administered in  drops) at

          room temperature;  and  (b) must  have  a THC  level  in a  range

          significantly  higher than  that  of  marihuana.    We  therefore

          conclude that the rule of lenity should have been applied in this

          case, requiring  a narrower construction  of "hashish oil."   Had

          the substance been  a potent liquid,  derived from cannabis,  and

          lacking plant  material, then the  rule of lenity would  not have

          been appropriate.  Although,  as the district court pointed  out,

          Bowen  and  Ticchiarelli   should  have  known  that   they  were

          trafficking  in  a   substance  that  could  result   in  serious

          penalties,  as we  have indicated,  fair notice  is not  the sole


                                         -15-














          consideration motivating the rule of lenity.

                    II.  Bowen's Other Claims
                    II.  Bowen's Other Claims

                    We  need  not  dwell at  length  on  Bowen's additional

          claims.  First, his request for  a downward departure due to  the

          low THC levels  of the substance is rendered  irrelevant in light

          of  our holding  that the  rule  of lenity  applies.   Second, he

          challenges the constitutionality  of the fifty to  one conversion

          ratio between  hashish oil and  marihuana under U.S.S.G.    2D1.1

          and 21 U.S.C   841(b)(1) (D).  In declining Bowen's invitation to

          deem  Congress' enactment of  this ratio patently  irrational, we

          need  only direct his attention to  United States v. Singleterry,
                                              _____________    ___________

          29 F.3d 733, 739 (1st Cir. 1994), which upheld a challenge to the

          Guideline  provision equating one  gram of cocaine  base with 100

          grams of cocaine.   Indeed, the  fifty to one  hashish oil  ratio

          presents  a  much  more straightforward  case  for after-the-fact

          rationalization:  hashish oil can  be expected to  be more potent

          and more easily transported than marihuana.

                    Finally,  Bowen  challenges  the  admission of  a  drug

          ledger  during  his criminal  trial.    Even assuming,  as  Bowen

          alleges,  that the  drug ledger  confiscated at  the time  of his

          arrest was not related to  the conduct charged in the indictment,

          and  therefore  should  have  been  excluded  as  irrelevant,  on

          reviewing the record we find  that any error was plainly harmless

          and did not  implicate a constitutional right.   Given the varied

          and   strong  proof,  based   on  direct  evidence,   of  Bowen's

          participation  in the  conspiracy,  we find  the  "weight of  the


                                         -16-














          additional  evidence overwhelming,"  and conclude  that  the same

          verdict would almost certainly result from  a new trial.   United
                                                                     ______

          States v. Rose,  104 F.3d 1408,  1414 (1st Cir. 1997).   Although
          ______    ____

          the drug  ledger was used  by the prosecution to  corroborate the

          testimony   of   Bowen's  co-conspirators,   significantly,   the

          accomplice testimony  was forcefully corroborated  by other  real

          evidence and by the testimony of customs agents.








































                                         -17-














                                      CONCLUSION
                                      CONCLUSION

                    For  the foregoing reasons the sentences applied to the

          appellants are vacated  and the case  is remanded for  sentencing
                         vacated                   remanded
                         _______                   ________

          pursuant to this opinion.














































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